Case 1:19-cv-11643-NMG Document 26 Filed 10/20/20 Page 1 of5

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

TIMMY HEM
Plaintiff,

Vv. CIVIL ACTION NO. 19-11643-NMG
OFFICER TRIFKOVIC,

Defendant.

ORDER

 

GORTON, J.

Plaintiff Timmy Hem’s (“Hem”) June 10, 2020 letter (ECF No.
22), construed as a motion to amend the complaint to add Judge
Matthew J. Machera of the Massachusetts District Court
Department, Chelsea Division, as a party, and June 22, 2020
motion for extension of time (ECF No. 23), are each hereby
DENIED.

It is FURTHER ORDERED that Hem’s third request in those
documents not to pursue the only defendant in this action,
Officer Trifkovic, is construed as a Notice of Voluntary
Dismissal pursuant to Fed. R. Civ. P. 41(a) (1) (A) (i), and the
action is hereby DISMISSED in its entirety without prejudice.
The Clerk is directed to enter a separate order of dismissal.

On April 8, 2020, Hem sought to not pursue his claim
against Officer Trifkovic, the only defendant in this action,

and to add Judge Matthew Machera as a defendant for monetary
Case 1:19-cv-11643-NMG Document 26 Filed 10/20/20 Page 2 of 5

damages over judicial actions that occurred in his criminal
case. See April 8, 2020 letter, ECF No. 17.

On April 22, 2020, the Court construed Hem’s letter as a
motion to amend the Third Amended Complaint and denied that
motion, explaining that such an amendment was (and is) futile
because, generally, a judge cannot be sued for monetary damages
for judicial functions. See April 22, 2020 Order, ECF No. 18
(citing Zenon v. Guzman, 924 F.3d 611, 616 (1st Cir. 2019) (“The
breadth of the protection is fulsome, shielding judges even when
their actions are malicious, corrupt, mistaken, or taken in bad
faith; its purpose not to buffer bad judges but for the benefit
of the public, whose interest it is that the judges should be at
liberty to exercise their functions with independence and
without fear of consequences.”) (citation and quotations
omitted) .1

This Court further ordered that to the extent that Hem
wished to amend the complaint, he must include a proposed
amended complaint, and that he nonetheless was required to
timely serve Officer Trifkovic:

Although the Court takes no position as to
whether a further motion for leave to amend the
complaint is appropriate, any such motion must be

supported by a memorandum of reasons. See L.R.
7.1(b) (1). As a prerequisite to consideration of such

 

1 To be sure, the Court cites Zenon solely for the proposition of
law as to the breadth of judicial immunity, but takes no
position as to the merits of Hem’s allegations.

2
Case 1:19-cv-11643-NMG Document 26 Filed 10/20/20 Page 3 of 5

a motion, Hem must attach a proposed amended complaint
that complies with the basic pleading requirements of
the Federal Rules of Civil Procedure. Whether or not
Hem files such a motion, Hem is reminded that he must
still comply with the Court's March 27, 2020 Order
(ECF No. 14), and timely serve the defendant in this
action with the summons and Third Amended Complaint
(ECF No. 13), otherwise the entire action will be
dismissed without prejudice.

Hem continues to seek monetary damages against Judge
Machera for his judicial rulings -- something he cannot do. Hem
repeats general claims (without a proposed amended complaint -
another ground to deny the motion to amend) that Judge Machera
wrongly denied his motion to suppress and sentenced him to
prison in his underlying criminal action. Motion to Amend
Compl., ECF No. 22, at 2; Motion for Extension of Time, ECF No.
23, at 1. As the Court previously explained in its April 22,
2020 Order, ECF No. 18, these are core judicial functions to
which absolute judicial immunity applies. Indeed, “permitting
judges to be questioned on their rulings . . . would lead to
continual calumniations and nothing short of the subversion of
all justice.” Zenon, 924 F.3d at 616 (citation and quotations
omitted). While Hem may disagree with Judge Machera’s rulings
and orders in his underlying criminal case, well-settled
precedent prohibits Hem from bringing a civil action for damages

against Judge Machera. Any such claim is therefore futile.
Case 1:19-cv-11643-NMG Document 26 Filed 10/20/20 Page 4 of 5

Additionally, there is another problem with Hem’s claims
against Judge Machera: even if judicial immunity did not apply,
“in order to recover damages for allegedly unconstitutional
conviction or imprisonment ... a [civil rights] plaintiff must
prove that the conviction or sentence has been reversed on
direct appeal, expunged by executive order, declared invalid by
a state tribunal authorized to make such determination, or
called into question by a federal court’s issuance of a writ of
habeas corpus.” Heck v. Humphrey, 512 U.S. 477, 486-87. This
rule applies whenever “a judgment in favor of the plaintiff
would necessarily imply the invalidity of his conviction or
sentence.” Id. at 487. Without any allegation of a favorable
termination in his criminal action, it appears that Heck would
bar the claims raised against Judge Machera as well.

Finally, the Court observes that the sole defendant in this
action is Officer Trifkovic. Hem has indicated, on multiple
occasions, and armed with the knowledge that he may not proceed
against Judge Machera, see April 22, 2020 Order, ECF No. 18,
that he does not wish to proceed against Officer Trifkovic in
this action. See June 10, 2020 letter, ECF No. 22 (“I would
like to bring my claim against defendant (Judge Matthew
[Machera]) and not Officer Trifkovic”); June 22, 2020 Motion for
Extension of time, ECF No. 23, at 2 (“I am filing a motion for

enlargement of time .. due to the facts that the claims were

4
Case 1:19-cv-11643-NMG Document 26 Filed 10/20/20 Page 5 of 5

brought against the wrong officer. The claims would be brought
against Judge Matthew J. Machera of the Chelsea District Court
because even though officer Trifkovic illegally searched me it
is the Judge who took away my freedom by denying my motion to
suppress and sentencing me 2 years to serve in the house of
corrections...”). Having been expressly warned that Hem has no
viable claim against Judge Machera, the Court treats Hem’s
request not to proceed against Officer Trifkovic as a notice of
voluntary dismissal as noted above.

Hem’s Motion to Reimburse Money (ECF No. 25) is
DENIED. The Court is informed that, in this case, the Clerk has
collected $336.60 and $13.40 remains outstanding on the filing
fee. Hem’s repeated assertion that being permitted to proceed
in forma pauperis while incarcerated somehow entitles him to a
waiver of the fee and return of funds paid to date is incorrect
as a matter of law. See 28 U.S.C. § 1915(b) (1).

So Ordered.

NATHANIEL M. GORTON
UNITED STATES DISTRICT JUDGE

DATE: October2O, 2020
